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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 18-20985-CR-ALTONAGA

  UNITED STATES OF AMERICA,

                Plaintiff,

  v.

  JAMIN CORDOBA-RENGIFO,

             Defendant.
  ______________________________/

                                     DETENTION ORDER

         Pursuant to 18 U.S.C. § 3142(f), on March 10, 2020, a hearing was held to

  determine whether defendant JAMIN CORDOBA-RENGIFO should be detained prior to

  trial. Having considered the factors enumerated in 18 U.S.C. § 3142(g), this Court finds

  that no condition or combination of conditions will reasonably assure the appearance of

  this defendant as required and/or the safety of any other person and the community.

  Therefore, it is hereby ordered that the defendant JAMIN CORDOBA-RENGIFO be

  detained prior to trial and until the conclusion thereof.

         In accordance with the provisions of 18 U.S.C. § 3142(i), the Court hereby

  makes the following findings of fact and statement of reasons for the detention:

         1.      The defendant is charged by indictment, in the Southern District of

  Florida, with conspiracy to distribute cocaine knowing that it would be unlawfully

  imported into the United States in violation of Title 21, United States Code, Section 963.

  Therefore, the defendant is charged with a narcotics offense for which a maximum
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  sentence of more than ten (10) years is prescribed, resulting in a rebuttable

  presumption that no condition or combination of conditions will reasonably assure the

  appearance of the defendant at all future court proceedings and the safety of any other

  person and the community. Title 18, United States Code, Section 3142(e) and (f).

         2.     The weight of the evidence against the defendant is substantial. The

  government has proffered that in February and March 2018, a confidential source

  ("CS") met with the defendant to discuss the transportation of cocaine into the United

  States. The defendant and the co-defendant were responsible for securing 30

  kilograms of cocaine and the CS was to provide an additional five kilograms of cocaine.

  In total, 55 kilograms of cocaine would be transported by sailboat into the United

  States. The defendant and the co-defendant would receive $3,500 plus 1.5 kilograms of

  cocaine for participating in this scheme.

         During a meeting in March 2018, the CS brought the five kilograms of sham

  cocaine to the defendant who took it to the co-defendant.

         Law enforcement officers searched the sailboat and discovered cocaine in the

  walls of the sailboat, including the five kilograms of sham cocaine provided by the CS.

         The defendant continued to set up narcotics transportation deals including

  attempted large shipments of cocaine to Spain and the United States.

         After his arrest, the defendant admitted to his involvement in transporting the

  narcotics onboard the sailboat.

         3.     The pertinent history and characteristics of the defendant support pretrial

  detention. The defendant was born on December 29, 1977 in Colombia and is a lifelong

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  resident of that country. The defendant served a nine-year term of imprisonment in

  Panama for drug trafficking. Title 18, United States Code, Section 3142(g)(3)(A).

         4.     Based on the defendant's lifelong ties to Colombia, his employment in the

  narcotics business and lack of assets or ties to the United States, the undersigned

  believes that the defendant would not appear if released on bond. The Court

  specifically finds, by a preponderance of the evidence, that there are no conditions or

  combination of conditions which reasonably will assure the defendant's appearance as

  required.

         5.     Based on the defendant's employment in the narcotics business, his

  participation in the importation of cocaine to the United States charged in the instant

  offense and his participation in other cocaine transportation deals, the defendant would

  continue to engage in the narcotics business and be a danger to persons in the

  community if released on bond. The Court specifically finds by clear and convincing

  evidence, there are no conditions or combinations of conditions which will reasonably

  assure the safety of other persons and the community.

         The Court hereby directs:

                (a) That the defendant be committed to the custody of the Attorney

  General for confinement in a corrections facility separate, to the extent practical, from

  persons awaiting or serving sentences or being held in custody pending appeal;

                (b) That the defendant be afforded reasonable opportunity for private

  consultation with counsel; and



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               (c) That, on order of a court of the United States or on request of an

  attorney for the Government, the person in charge of the corrections facility in which the

  defendant is confined deliver the defendant to a United States Marshal for the purpose

  of an appearance in connection with a court proceeding.

          DONE AND ORDERED at Miami, Florida, this 10th day of March, 2020.



                                    ______________________________________
                                    JOHN J. O'SULLIVAN
                                    CHIEF UNITED STATES MAGISTRATE JUDGE




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